  Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 1 of 70 PageID #:7035




           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF ILLINOIS

ROBERT BOUTO,                             )
                                          )
           Plaintiff,                     )   Case No. 19-cv-2441
                                          )
           v.                             )   Judge John F. Kness
                                          )   Magistrate Judge Susan E. Cox
CHICAGO POLICE OFFICERS                   )
REYNALDO GUEVARA, JOANN                   )
HALVORSEN as SPECIAL                      )
REPRESENTATIVE for ERNEST                 )   JURY TRIAL DEMANDED
HALVORSEN, EDWARD MINGEY,                 )
KENNETH PANG, ALAN PERGANDE,              )
RICHARD MAHER, L. MARRON, AND             )
UNKNOWN OFFICERS; KEVIN                   )
HUGHES; CITY OF CHICAGO; and              )
COOK COUNTY,                              )
                                          )
           Defendants.                    )

                         THIRD AMENDED COMPLAINT

      Plaintiff Robert Bouto, by his attorneys, Loevy & Loevy, complains of

Defendant Chicago Police Department Officers Reynaldo Guevara, JoAnn

Halvorsen as Special Representative for Ernest Halvorsen, Edward Mingey,

Kenneth Pang, Alan Pergande, Richard Maher, L. Marron, and Unknown Officers;

Former Assistant State’s Attorney Kevin Hughes; City of Chicago; and Cook

County, as follows:

                               INTRODUCTION

      1.     Plaintiff Robert Bouto was wrongfully convicted of the tragic 1993

shooting death of Salvador Ruvalcaba. Plaintiff was convicted solely because

Defendants framed Bouto for the murder.
  Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 2 of 70 PageID #:7036




      2.     Mr. Bouto had nothing to do with the murder; as two independent alibi

witnesses have maintained with absolute certainty for over two decades, Mr. Bouto,

then just 17 years old, was with them at the time of the shooting.

      3.     The City of Chicago conducted its own investigation into Mr. Bouto’s

case and concluded that Mr. Bouto is innocent.

      4.     This was a classic set-up by the now-notorious Chicago Police Detective

Defendant Reynaldo Guevara and his cohorts, who specialized in framing young

men to close unsolved cases and did so time and time again over the course of two

decades working for the Chicago Police Department.

      5.     To secure Mr. Bouto’s wrongful conviction, Defendant Guevara and

other Defendants coerced, manipulated, and instructed eyewitnesses—most of

whom were teenagers—to identify Mr. Bouto as the shooter, even though they

witnessed a chaotic scene and were too far from the shooter to reliably identify

anyone. The two eyewitnesses who identified Mr. Bouto at trial have since recanted

their testimony, alleging that Guevara improperly influenced their identifications

and that they did not even see the perpetrator’s face.

      6.     For his part, Defendant Guevara has universally taken the Fifth about

his activities as a Chicago police officer in the face of over 100 incidents of his

misconduct, asserting his right to silence on grounds that truthful responses would

subject him to criminal liability.

      7.     Due to Defendants’ foul play, Plaintiff was wrongfully convicted of

Ruvalcaba’s 1993 shooting death and spent 23 years in prison as an innocent man.



                                          2
  Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 3 of 70 PageID #:7037




       8.     In 2018, Plaintiff was finally vindicated: the Circuit Court of Cook

County vacated his conviction and the charges against him were dismissed. Mr.

Bouto received a Certificate of Innocence on May 27, 2019.

       9.      He now brings this action to redress the devastating injuries that

Defendants have caused him.

                           JURISDICTION AND VENUE

       10.    This action is brought pursuant to 42 U.S.C. § 1983 to redress

Defendants’ deprivation of Plaintiff’s rights secured by the U.S. Constitution.

       11.    This Court has jurisdiction over Plaintiff’s federal claims pursuant to

28 U.S.C. § 1331 and supplemental jurisdiction over his state law claim for

indemnification pursuant to 28 U.S.C. § 1367.

       12.    Venue is proper under 28 U.S.C. § 1391(b). Plaintiff resides in this

judicial district, the majority of the Defendants reside in this judicial district, and

the events and omissions giving rise to Plaintiff’s claims occurred within this

judicial district.

                                      PARTIES

       13.    Plaintiff Robert Bouto is a resident of Cook County, Illinois, who spent

approximately 23 years in prison for a crime he did not commit.

       14.    Defendant City of Chicago is an Illinois municipal corporation and is

and/or was the employer of each of the Defendant Officers. The City of Chicago is

liable for the acts of the Defendant Officers while acting within the scope of their

employment for the City.



                                          3
  Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 4 of 70 PageID #:7038




      15.    At all times relevant hereto, Defendants Reynaldo Guevara, Edward

Mingey, Kenneth Pang, Alan Pergande, Richard Maher, L. Marron, and other

unknown law enforcement officers, as well as deceased officer Ernest Halvorsen,

(collectively, the “Defendant Officers”) were police officers in the Chicago Police

Department acting under color of law and within the scope of their employment for

the City of Chicago. 1

      16.    JoAnn Halvorsen, the Special Representative for Ernest Halvorsen,

deceased, is named as a Defendant in her capacity as Special Representative of

Ernest Halvorsen, as successor in interest and to defend this action on behalf of

Defendant Ernest Halvorsen.

      17.    Defendant Edward Mingey, at all relevant times, supervised the Police

Officer Defendants. He facilitated, condoned and approved the constitutional

violations committed by the Police Officer Defendants.

      18.    At all relevant times, Kevin Hughes was an Assistant Cook County

State’s Attorneys. Hughes conspired with the Defendant Officers, prior to the

existence of probable cause to believe Plaintiff had committed a crime, and while

acting in an investigatory capacity, to conceal and fabricate evidence, manipulate

witness testimony, and maliciously prosecute Plaintiff for Salvador Ruvalcaba’s

murder.

      19.    Defendant Cook County is a governmental entity within the State of

Illinois, which consists in part of its Cook County State’s Attorney’s Office.



1 The collective “Defendants” also includes Mr. Halvorsen.


                                         4
  Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 5 of 70 PageID #:7039




Defendant Cook County was at all relevant times the employer of Defendant

Hughes and is a necessary party to this lawsuit.

                                           FACTS

                                          The Crime

         20.   At approximately 3:05 pm on May 14, 1993, an unknown person fatally

shot Salvador Ruvalcaba.

         21.   The tragic murder occurred near Roosevelt High School in Chicago,

right after school let out for the day.

         22.   At the time of his death, Ruvalcaba had been walking with several

members of the Spanish Cobra street gang.

         23.   After striking the victim with multiple bullets, the perpetrator fled the

scene.

         24.   Investigators later recovered cartridge casings from a grassy area

about 245 feet away from the victim’s body.

         25.   Mr. Bouto had nothing to do with the crime. At the time of the

shooting, Mr. Bouto was a few blocks away in an alley embracing his high school

girlfriend, Tania Astefan.

         26.   For decades, Tania Astefan has consistently maintained that Mr.

Bouto was with her at the time of the shooting.

         27.   Also for decades, Ms. Astefan’s friend, Helen Kandah, has consistently

maintained that Mr. Bouto was kissing Ms. Astefan at the time of the shooting.




                                              5
  Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 6 of 70 PageID #:7040




      28.    After the shooting, police officers interviewed numerous witnesses,

including Carl Richmond, Rey Lozada, and other Spanish Cobra gang members who

were with Ruvalcaba when he was shot, as well as several neighborhood witnesses,

including Margaret and Michael Fleming.

      29.    Richmond and the other Spanish Cobras who witnessed Ruvalcaba’s

death described the shooter to police at the scene as a 16- to 17-year-old Hispanic

male member of the rival P.R. Stones gang with a ponytail, 5’ 7” tall, 140 pounds,

and wearing a blue hoodie, long black shorts, and white shoes.

      30.    Similarly, the neighborhood witnesses described the offender as a 16-

year-old Hispanic male with a ponytail, 5’ 5” tall, 120 pounds, and wearing a black

t-shirt, 3/4-length baggy pants, and white high-top shoes. The shooter was further

described as “clean shaven.”

      31.    When initially questioned by the police, no witness was able to identify

the shooter by name.

      32.    Although Richmond, Lozada, and other witnesses were acquainted

with Mr. Bouto, none of them initially identified him as the shooter.

      33.    Officers began searching the area for potential suspects.

      34.    The area of the murder and surrounding blocks was a densely

populated urban area that included not only a large city high school but also many

businesses and residences.

      35.    In the hour after the Ruvalcaba shooting, the blocks surrounding the

murder scene were populated by numerous pedestrians, including students leaving



                                          6
  Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 7 of 70 PageID #:7041




Roosevelt High School, persons frequenting nearby businesses, residents of the

surrounding homes, and other passersby.

   Defendants Arrest Mr. Bouto in Retaliation for His Being Named as a
               Witness in a Police Misconduct Complaint

        36.   Some time later, members of a 17th district tactical team that included

Defendants Alan Pergande and Kenneth Pang and Officers John Day, Conrad

Dembowski, Lawrence King, detained Mr. Bouto about four blocks from the scene.

        37.   Defendants ordered Mr. Bouto into their police car.

        38.   According to Pergande, Defendants took Mr. Bouto into custody

because Mr. Bouto matched the description of the perpetrator.

        39.   Yet other than wearing a blue hooded shirt and dark ¾-length shorts,

Mr. Bouto did not otherwise match the shooter’s description.

        40.   Mr. Bouto had no ponytail on May 14, 1993.

        41.   At 5’10”, Mr. Bouto was significantly taller than the shooter.

        42.   Mr. Bouto did not have on white high-top shoes.

        43.   Mr. Bouto’s shorts were neither “black” nor “baggy.”

        44.   Mr. Bouto was not “clean shaven.”

        45.   Rather, Mr. Bouto had a prominent mustache, a “soul patch” above his

upper lip, and dark stubble on his chin and neck.

        46.   Blue hooded shirts were common attire in the neighborhood at the

time.

        47.   Dark ¾-length shorts were common attire in the neighborhood at the

time.

                                           7
  Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 8 of 70 PageID #:7042




      48.       Moreover, as confirmed by the lengthy distance between the shell

casings and Ruvalcaba’s body, many of the eyewitnesses, such as Lozada and

Richmond, were much too far away from the shooter to reliably identify him.

      49.       Defendants including Pergande and/or Pang arrested Mr. Bouto

because as they were aware, he had recently been named as a witness in a police

excessive force complaint by one victim against Officers Day and Dembowski, and

that victim’s brother, against Officer King.

      50.       Day, Dembowski, and King were first notified of the misconduct

complaint against them on or about May 12, 1993.

      51.       Day, Dembowski, and King denied the allegations in the misconduct

complaint. However, records indicated that one of the victims had to receive medical

treatment shortly after his interaction with the officers and the victims’ sister

provided additional corroboration.

      52.       By May 12, Day, Dembowski, and King were well aware that Mr.

Bouto was a witness to key events out of which the misconduct complaint arose.

      53.       By May 12, Defendant Pergande, too, was aware of the misconduct

complaint against his fellow tactical team members, as well as of Mr. Bouto’s status

as a witness.

      54.       Thus, when Defendants Pergande and Pang, and Officers Day,

Dembowksi, and King, learned that Mr. Bouto was on the street on May 14th during

their canvas of the area for the Ruvalcaba homicide, they saw an opportunity to




                                          8
  Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 9 of 70 PageID #:7043




retaliate against, incapacitate, and silence a central witness to the misconduct

complaint.

      55.      Defendants arrested Mr. Bouto even though he did not match the

eyewitness descriptions of the perpetrator.

      56.      Defendants arrested Mr. Bouto even though they knew he was not the

perpetrator of the Ruvalcaba homicide.

                   Defendants Taint Eyewitness Identifications
                        Through a Suggestive “Show-Up”

      57.      Defendants Pang and Pergande drove Bouto and some other boys to

the crime scene, where Defendants used suggestive and coercive methods to

manipulate the eyewitnesses to identify Mr. Bouto as the shooter.

      58.      First, at the scene, Defendants intentionally performed a “show-up” to

manufacture evidence to continue to hold Mr. Bouto.

      59.      Defendants presented a handcuffed Mr. Bouto, and the other boys

detained with him, to some of the eyewitnesses at the scene for identification as the

perpetrator.

      60.      Defendant Pergande conducted and/or participated in the show-up.

      61.      Defendant Pang conducted and/or participated in the show-up.

      62.      Defendant Guevara conducted and/or participated in the show-up.

      63.      Detective Halvorsen conducted and/or participated in the show-up.

      64.      As Defendants were well aware, the show-up was improper and

impermissibly suggestive, because it strongly indicated to the witnesses that the

Defendants had captured the perpetrator and brought him to the scene; indeed, the

                                           9
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 10 of 70 PageID #:7044




Defendants expressly advised the witnesses that the show-up contained the

“murderer” and that the “offender was in custody,” or words to that effect. Some of

the witnesses were even falsely advised during the show-up by Defendant Guevara

and others that Mr. Bouto was the shooter.

      65.    In addition, Mr. Bouto was the only participant in the show-up who

bore any resemblance whatsoever to descriptions of the perpetrator.

      66.    Using this suggestive and improper procedure, Defendants including

Pergande, Pang, and Guevara fabricated identifications by Lozada and Richmond

(then just 15 and 19 years old, respectively) of 17-year-old Mr. Bouto as the

gunman.

      67.    After fabricating and tainting these eyewitnesses’ identifications,

Defendants Guevara, Pergande, and Mr. Halvorsen prepared false, misleading, and

incomplete police reports, in which they intentionally declined to document the

procedure used during the show-up, the actions taken that influenced the witnesses’

identifications, the clothing and physical characteristics of the participants in the

show-up other than Mr. Bouto, and the full and complete responses of all witnesses

who viewed the show-up.

      68.    The Defendants also purposefully declined to photograph the other

participants in the show-up, or to arrange for such photographs to be taken by

others, so that such photographic evidence would be kept from Mr. Bouto’s defense.




                                         10
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 11 of 70 PageID #:7045




      69.      Defendants Guevara and Pergande, and Mr. Halvorsen deliberately

took these actions to ensure that Mr. Bouto would not have this exculpatory

information for use in his defense, and they withheld it from Mr. Bouto’s defense.

      70.      Defendant Mingey, who was working that day as a watch commander,

approved of and condoned the show-up procedure despite knowing of its

impermissibly suggestive nature.

               Defendants Further Taint Eyewitness Identifications
                          through a Suggestive Line-up

      71.      Subsequently, Mr. Bouto was transported to the police station, where

Defendants including Guevara placed him in a line-up and engaged in additional

misconduct to manipulate the eyewitnesses to identify him.

      72.      Prior to the line-up, Detective Guevara showed Mr. Bouto to many of

the witnesses and instructed them that he was the shooter and that they should

select him.

      73.      Also prior to the line-up, Detectives Guevara and Halvorsen allowed

the witnesses to view photographs of Mr. Bouto at Area 5 detective headquarters.

      74.      Defendants further put their thumb on the scale by constructing the

line-up to suggest Mr. Bouto as the only possible selection that remotely matched

the eyewitnesses’ descriptions.

      75.      As one example, Mr. Bouto was the only person in the line-up wearing

a dark top and ¾ length shorts; most of the other participants wore clothing that, as

with the show-up, bore no resemblance whatsoever to descriptions of the

perpetrator.

                                         11
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 12 of 70 PageID #:7046




      76.    As a result of the Defendants’ misconduct, Richmond and Lozada

viewed the line-up and repeated their identification of Mr. Bouto as the shooter.

      77.    Defendants also tainted the identifications of neighborhood witnesses

Margaret and Michael Fleming by similarly presenting them with a line-up that

suggested Mr. Bouto as the only possible selection.

      78.    Margaret and Michael Fleming had admitted that they did not view

the offender’s face.

      79.    Margaret and Michael Fleming were asked to identify the shooter in

the line-up based only on his clothing.

      80.    Yet no one in the line-up other than Mr. Bouto was wearing ¾ length

shorts and a dark shirt.

      81.    The remaining participants in the line-up wore clothing that did not

match the descriptions of the shooter’s clothing.

      82.    The clothing line-up was not a proper identification procedure.

      83.    The clothing line-up suggested Mr. Bouto as the only possible selection.

      84.    The clothing line-up was unfairly suggestive.

      85.    Due to Defendants’ misconduct, Margaret and Michael Fleming

identified Mr. Bouto as the perpetrator based on his clothing.

      86.    Guevara, Pergande, and/or Halvorsen prepared false, misleading, and

incomplete police reports documenting the line-up that omitted material facts. For

example, they purposefully omitted mention of the methods they used during the

line-up, their actions to influence the identifications, and the full complete



                                          12
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 13 of 70 PageID #:7047




responses of all eyewitnesses who viewed the show-up to taint the identifications.

Guevara, Pergande, and/or Halvorsen authored the reports in this manner to

withhold exculpatory evidence from Mr. Bouto’s defense.

      87.   Defendant Mingey was working as a watch commander on the day of

the line-up in the Ruvalcaba homicide investigation.

      88.    Defendant Mingey expressly approved and condoned the line-up

procedure despite knowing of its impermissibly suggestive nature.

                      Defendants Destroy and Suppress
                      Additional Exculpatory Evidence

      89.   Defendants also suppressed and destroyed additional exculpatory

evidence that would have demonstrated Mr. Bouto’s innocence, in order to frame

him for the Ruvalcaba murder.

      90.   For example, Defendants including Pergande, Pang, Guevara, and

Halvorsen withheld and suppressed their contemporaneous documentation of

exculpatory witness statements and other identification procedures conducted

during the Ruvalcaba homicide investigation.

      91.   Defendants     including    Pergande       withheld   and   suppressed

documentation regarding the excessive force complaint against Day, Dembowski,

and King, including documentation that Mr. Bouto was a witness to a misconduct

investigation against Day, Dembowski, and King; that they knew he was a witness

to the misconduct investigation; and Pergande, King, Day, and Dembowksi had

learned of the misconduct investigation shortly before arresting Mr. Bouto for

murder.

                                        13
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 14 of 70 PageID #:7048




      92.    During one meeting with Defendant Officers including Defendant

Guevara and Defendant Pang, Mr. Bouto offered to retrieve alibi witness Tania

Astefan’s phone number from his pager.

      93.    In response, one of the Defendants removed the battery from the

pager, thus erasing its memory and, accordingly, Astefan’s phone number.

      94.    Defendants intentionally omitted mention of this occurrence in their

police reports.

      95.    Had the pager memory been maintained, Mr. Bouto could have put

officers or prosecutors in touch with Ms. Astefan to confirm his alibi and would not

have been charged with murder.

      96.    Mr. Bouto also requested a gunshot residue test and a polygraph

examination to prove his innocence and prevent the destruction of exculpatory

evidence.

      97.    Defendants could have arranged for a gunshot residue test had they

wanted to.

      98.    Defendants had to opportunity to request that a gunshot residue test

be performed at the time of the Ruvalcaba homicide investigation.

      99.    Defendants could have arranged for a polygraph examination had they

wanted to.

      100.   Polygraph examinations were readily available to Defendants at the

time of the Ruvalcaba homicide investigation.




                                         14
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 15 of 70 PageID #:7049




      101.   Defendants declined to request a gunshot residue test or polygraph

examination for Mr. Bouto.

      102.   They did so even though those tests were easily available to them, in

service of their goal of framing Mr. Bouto for the Ruvalcaba homicide.

      103.   Defendants refused the tests in bad faith. They wanted to pin the

Ruvalcaba homicide on Mr. Bouto even though they knew that he had not shot

Ruvalcaba and thus did not, for example, have gunshot residue on his hands.

      104.   Defendants intentionally declined to document Mr. Bouto’s requests for

testing.

      105.   Had Defendants performed a gunshot residue test on Mr. Bouto, such a

test would have provided powerful exculpatory information and Mr. Bouto would

not have been charged and prosecuted for the Ruvalcaba homicide.

      106.   Had Defendants performed a gunshot residue test on Mr. Bouto, which

came out negative, and had Mr. Bouto passed a polygraph examination that

indicated that he was being truthful (and/or not exhibiting deception) as to his alibi

and innocence of the crime, the prosecution would not have brought charges against

Mr. Bouto.

      107.   In ways such as these, Defendants knowingly created a false and

misleading record that omitted material facts, misrepresented material facts,

fabricated evidence against Mr. Bouto, destroyed exculpatory evidence, and

withheld exculpatory information from his defense.




                                         15
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 16 of 70 PageID #:7050




               Defendants Fabricate a Purported Confession
         to Heroin Addicts Francisco Vicente and Edwin Maldonado

       108.   The “evidence” collected thus far was then presented to Assistant

State’s Attorney Sally Bray of the State’s Attorney’s Felony Review Unit.

       109.   Attorney Bray reviewed the evidence on or about the evening of May

14, 1993.

       110.   In the alternative, Attorney Bray reviewed the evidence on or about

the morning of May 15, 1993.

       111.   Felony Review Attorney Bray declined to approve charges against

Plaintiff.

       112.   Felony Review Attorney Bray deemed the evidence collected thus far

insufficient for charges against Plaintiff.

       113.   At that point, there was no probable cause to believe that Plaintiff had

committed the crime.

       114.   The eyewitness identifications were insufficient for a multitude of

reasons, including but not limited to that they resulted from unduly suggestive

procedures; were provided against Plaintiff by rival gang members; failed to explain

why eyewitnesses such as Richmond, who knew Plaintiff, would have failed to

identify him by name had they truly seen him murder Ruvalcaba; diverged greatly

from the descriptions provided by the same eyewitnesses; and were fabricated. In

addition, Plaintiff had alerted police to the existence of his alibi witness, Tania

Astefan, but police had not yet spoken to her.




                                              16
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 17 of 70 PageID #:7051




      115.     Bray directed that Detectives Guevara and Halvorsen should locate

Mr. Bouto’s girlfriend and another individual known as “Mario” who had been

identified by eyewitness Frank Escovar as having handed the gun to the

perpetrator.

      116.     Defendants declined to do as Bray had requested. -

      117.     Defendants took no steps to try to locate Mr. Bouto’s alibi witness, Ms.

Astefan, in response to Ms. Bray’s request.

      118.     Defendants took no steps to try to locate “Mario” in response to Ms.

Bray’s request.

      119.     Defendants Guevara and Halvorsen did not document in any police

report any actions taken after Ms. Bray’s request, on May 14, 1993 or May 15, 1993,

to locate Plaintiff’s alibi witness (Ms. Astefan) or “Mario.”

      120.     Instead, Defendants manufactured additional evidence to facilitate the

approval of charges against Bouto: a purported jailhouse confession by Mr. Bouto to

heroin addict Francisco Vicente. According to this fictitious story, Bouto had

spontaneously confessed to the murder to Vicente and another detainee and heroin

addict, Edwin Maldonado, while the three strangers were detained in separate cells

in a lockup.

      121.     This was false. Mr. Bouto did not commit the murder.

      122.     Mr. Bouto did not confess to the murder to Vicente and Maldonado.

      123.     Indeed, the City itself has determined that Mr. Bouto is innocent and

that Vicente’s claim was a lie.



                                           17
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 18 of 70 PageID #:7052




      124.   When he met the Defendant Officers, Vicente was highly vulnerable to

Defendants’ manipulation.

      125.   Vicente was suffering from heroin withdrawal.

      126.   Vicente had been robbing people to feed his heroin addiction.

      127.   Vicente had an extensive criminal history.

      128.   Vicente was facing up to 100 years in prison on four felony robbery

charges.

      129.   Guevara and Halvorsen met with Vicente and falsely told him that Mr.

Bouto had committed the Ruvalcaba homicide. They then instructed Vicente to

claim that Mr. Bouto had confessed the crime to him and Maldonado, while in the

lockup.

      130.   To coerce Vicente to acquiesce to the scheme, Guevara and/or

Halvorsen detained Vicente for hours, used force on him, threatened him, and

promised him assistance with pending criminal charges.

      131.   So that Vicente’s false narrative would appear more credible, Guevara

and/or Halvorsen purposefully fed Vicente details of the Ruvalcaba homicide that

they had already learned from eyewitnesses.

      132.   Defendants then knowingly dictated a false handwritten statement for

Vicente to sign, which detailed the purported confession from Mr. Bouto.

      133.   Specifically, Guevara and/or Halvorsen arranged for and conspired

with Defendant Assistant State’s Attorney Hughes to record a false statement on

Vicente’s behalf.



                                         18
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 19 of 70 PageID #:7053




      134.   Defendant Hughes did not interview Vicente, and record Vicente’s

account as provided to him by Vicente.

      135.   Rather, Defendant Hughes purposefully allowed Defendants Guevara

and/or Halvorsen to dictate Vicente’s statement and recorded Guevara and/or

Halvorsen’s account of Vicente’s statement.

      136.   Defendant Hughes then documented that the contents of the statement

had been provided to him by Vicente.

      137.   Defendant Hughes’s documentation described in Paragraph 129 was

false, as Defendant Hughes knew.

      138.   Defendant Hughes included this account to lend false credibility to

Vicente’s supposed inculpation of Bouto.

      139.   Defendant Hughes did so because, as he was well aware, probable

cause did not exist to charge Plaintiff for the Ruvalcaba murder, and he was

complicit with the Defendant Officers in wanting to frame Plaintiff for that murder.

      140.   In the alternative, Guevara and Halvorsen concealed their fabrication

of the purported confession from Defendant Hughes.

      141.   Defendant Hughes then approved charges against Plaintiff—charges

which had previously been rejected by Attorney Bray—based on the fabricated

statement from Vicente.

      142.   Defendant Hughes approved charges even though Guevara and

Halvorsen had not made any attempt to locate Plaintiff’s girlfriend and alibi

witness (Tania Astefan) or “Mario” since Felony Review Attorney Bray’s request.



                                           19
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 20 of 70 PageID #:7054




      143.   Defendant Hughes approved charges even though Guevara and

Halvorsen had not documented any attempt to locate Plaintiff’s girlfriend and alibi

witness (Tania Astefan) or “Mario” since Felony Review Attorney Bray’s request.

      144.   Defendant Hughes approved charges even though Guevara and

Halvorsen had not informed Hughes of any attempt to locate Plaintiff’s girlfriend

and alibi witness (Tania Astefan) or “Mario” in response to Felony Review Attorney

Bray’s request.

      145.   Guevara and Halvorsen documented in police reports the details of the

fabricated account that Halvorsen and/or Guevara had knowingly fed to Vicente.

      146.   Guevara and Halvorsen withheld documentation of their actions to

coerce Vicente to acquiesce to the scheme, including their supplying him with

details of the crime, to keep such exculpatory information from Mr. Bouto’s defense.

      147.   Guevara and Halvorsen documented in police reports that Vicente had

informed Defendant Maher that Vicente had heard a murder confession in the lock-

up.

      148.   Guevara and/or Halvorsen documented in police reports that

Halvorsen had first learned of Mr. Bouto’s purported confession to Vicente from

Defendant Maher.

      149.   The documentation described in Paragraph 140 was false.

      150.   The documentation described in Paragraph 141 was false.

      151.   The false statements described in Paragraphs 140 and 141 were

recorded to conceal Defendants’ misconduct in fabricating Vicente’s statement.



                                         20
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 21 of 70 PageID #:7055




         152.   Defendant Maher backed the false claim that Vicente had told him

first that Bouto confessed.

         153.   According   to    Defendants,    Maher   told   Halvorsen   of   Vicente’s

statements inculpating Bouto at the time Halvorsen first arrived at work on May

15, 1993.

         154.   This was false.

         155.   Without Defendant Maher’s agreement to carry out the lie, the other

Defendants would not have been emboldened to coerce Vicente to falsely implicate

Mr. Bouto.

         156.   Defendant Maher also participated in fabricating Vicente’s false

inculpation of Bouto in the crime.

         157.   Pleading in the alternative, and upon information and belief, Guevara

and/or Halvorsen instructed arresting officers Lupe Pena and Defendant L. Marron

to falsely claim that Vicente told them first that Bouto confessed, and the arresting

officers complied.

         158.   Without Pena and Marron’s agreement to carry out the lie, the other

Defendants would not have been emboldened to coerce Vicente to falsely implicate

Mr. Bouto.

         159.   To further conceal their misconduct, Defendants coerced Edwin

Maldonado to falsely claim to have heard the same purported confession from Mr.

Bouto.




                                            21
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 22 of 70 PageID #:7056




          160.   Maldonado was suffering from heroin withdrawal at the time he was

detained at Grand and Central with Mr. Bouto and Vicente.

          161.   Defendants including Defendant Guevara provided Maldonado with

the facts of the purported confession and coerced him to acquiesce using promises

and threats undisclosed to Mr. Bouto’s defense.

          162.   The   supposed    confession   purportedly   occurred   while   Vicente,

Maldonado, and Bouto were detained separately in cells 7-2, 7-4, and 7-6 of the 25th

District Lockup.

          163.   The lock-up was full at the time.

          164.   For Vicente’s account to be true, Mr. Bouto would have had to make

the implausible decision to yell a detailed confession at the top of his lungs, to

complete strangers, in a full lockup populated by other detainees and monitored by

guards.

          165.   Because of the location of the cells, Bouto and Vicente were at the time

separated by as many as fifty feet.

          166.   Mr. Halvorsen himself admitted to City of Chicago investigators that

“Vicente’s statement was the deciding factor in charging Bouto,” or words to that

effect.

          167.   Yet Defendants knew Vicente’s statement was false, and no probable

cause existed to charge Mr. Bouto at this time, nor any time before it. Defendants

had manufactured all of the evidence against Mr. Bouto, including the false

eyewitness identifications and the statements of Vicente and Maldonado.



                                             22
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 23 of 70 PageID #:7057




         168.   Vicente’s account did not contain a single piece of corroborable

information about the Ruvalcaba homicide that had not yet been reported to police.

         169.   Moreover, some of the additional details in Vicente’s statement were

verifiably false.

         170.   For example, Vicente’s statement claimed that Vicente had learned

from Bouto that the victim (Ruvalcaba) had cried, “I’m hit, I’m hit,” upon having

been shot.

         171.   This was false; Ruvalcaba did not cry, “I’m hit, I’m hit,” upon having

been shot.

         172.   Vicente’s statement also claimed that he had learned from Bouto that

an initial set of shots preceded a second round of shots that led to Ruvalcaba’s

death.

         173.   This was false; eyewitnesses near to Ruvalcaba at the time of his death

confirmed that there had not been an initial set of shots before the shots that led to

Ruvalcaba’s death.

         174.   Nonetheless, the fabricated statement improperly obtained from

Vicente by the Defendants, and purportedly corroborated by a fabricated statement

by Maldonado, in addition to the fabricated eyewitness identifications, caused the

approval of charges against Mr. Bouto, and resulted in his arrest and detention pre-

trial.

         175.   Maldonado and Vicente repeated their fabricated inculpation of Bouto

in grand jury proceedings.



                                           23
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 24 of 70 PageID #:7058




      176.   The prosecution would not have initiated and continued the

prosecution of Mr. Bouto without Vicente’s false statement and Maldonado’s

supposed corroboration of Vicente’s false statement.

      177.   Vicente’s and Maldonado’s fabricated supposed inculpations of Mr.

Bouto were used to deprive him of liberty.

      178.   As a prosecutor, Defendant Hughes would not have acted on his own to

falsely implicate Plaintiff in the murder case. He knew he would need the help and

active involvement of the Defendant Officers to support the initiation of false

charges against Plaintiff.

      179.   Indeed, Defendant Hughes joined the conspiracy only because he knew

that the Defendant Officers would be complicit in securing the false evidence to

frame the accused.

      180.   Defendant Hughes would not have filed false charges against Plaintiff

without the Defendant Officers’ willingness to fabricate evidence and their success

in so doing, as well as their involvement and encouragement. Defendant Hughes

would not have done the dirty work of coercing Vicente or creating wildly false

police reports; but in light of the Defendant Officers’ ready willingness to do both,

Defendant Hughes was willing to play his part in the conspiracy.

      181.   In other words, Defendant Hughes would never have approved charges

against Plaintiff without having at least one police officer available to document

and testify to the version of events surrounding Vicente’s statement that led to the




                                         24
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 25 of 70 PageID #:7059




initiation of charges against Plaintiff. Defendant Hughes needed the Defendant

Officers to write false reports and back up their fabricated charges against Plaintiff.




                                          25
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 26 of 70 PageID #:7060




                     Defendants “Solve” Another Murder
                    With a Purported Confession to Vicente

      182.   Remarkably, Guevara and Halvorsen went on to falsely claim that over

a period of just weeks, Vicente obtained confessions from four other men in two

additional unrelated murder cases.

      183.   Defendants used Vicente to pin the unsolved February 1993 murder of

Rodrigo Vargas on three innocent men: Jose Montanez, Armando Serrano, and

George Pacheco.

      184.   On June 2, 1993, Guevara and/or Halvorsen met with Vicente and

coerced him to falsely claim that Montanez, Serrano, and Pacheco had confessed to

having murdered Vargas.

      185.   Guevara and Halvorsen concocted a story for Vicente of how the

murder transpired and fed details to Vicente.         They used threats, abuse, and

undisclosed promises to coerce Vicente to adopt it.

      186.   Pursuant to the fabricated story, Vicente falsely claimed that on

February 5, 1993, he had encountered Montanez, Serrano, and Pacheco and that

the three disclosed that they had just committed a murder.

      187.   This was entirely false: not only did the three men not confess to

Vicente, but they were innocent and had nothing to do with the murder.

      188.   The City of Chicago’s own investigation concluded that Montanez,

Serrano, and Pacheco were more likely than not innocent.

      189.   Guevara and Halvorsen claimed that they first began investigating

Montanez, Serrano, and Pacheco for the Vargas homicide only because they learned

                                         26
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 27 of 70 PageID #:7061




in June 1993 from Vicente of the purported confession; at this point in the

investigation, no evidence of any kind had suggested Montanez, Serrano, and

Pacheco as suspects to the Vargas homicide.

        190.   Yet records indicate that Defendant Guevara had requested criminal

history reports for Montanez, Serrano and Pacheco a week earlier, in late May,

1993.

        191.   There was no legitimate basis to run criminal history reports for any of

the three men at the time.

        192.   For example, there was no suggestion that any of the three had

committed a crime on or about that date or had had anything to do with the Vargas

homicide.

        193.   Undoubtedly, this information was requested to determine whether

Defendants could plausibly frame the three for the Vargas murder to close that

case.

        194.   At no time during the entirety of Vicente’s cooperation with Guevara

and Halvorsen to implicate Mr. Bouto did Vicente mention knowing anything about

any other murders, such as the Vargas homicide.

        195.   Guevara and/or Halvorsen claimed that they had first learned of

Montanez’s purported confession to Vicente from Defendant Mingey.

        196.   This was a fabrication to conceal their misconduct; Guevara and

Halvorsen had not learned of Vicente’s inculpation of Montanez from Defendant

Mingey.



                                           27
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 28 of 70 PageID #:7062




      197.   To bolster the credibility of the fabricated confession to Vicente,

Chicago Police Department Officers including Guevara, Mingey, and Halvorsen

falsely claimed that a confidential informant (Timothy Rankins) had separately told

them that Montanez had admitted his involvement in the murder, and prepared a

fictitious supplemental police report to that effect.

      198.   In truth, Guevara, Mingey, Halvorsen, and others had fabricated

Rankins’ story, fed him details of the crime, and coerced him to adopt the story

using force, threats, and promises undisclosed to the defendants in the Vargas

criminal prosecution.

      199.   Rankins did not know Montanez, Serrano, or Pacheco, and had never

met them. Defendants Guevara, Halvorsen, and Mingey claimed that Rankins had

first disclosed his inculpation of Montanez to Mingey when he was interviewed by

Mingey.

      200.   This was false, and the fabricated origin of the Rankins inculpation of

Montanez was created to conceal Guevara and Halvorsen’s misconduct.

      201.   Defendants ensured that Rankins was housed along with Vicente in

the special witness quarters to encourage his continued acquiescence. Defendants

brought the two “witnesses” money and afforded them special privileges.

      202.   Nevertheless,    Rankins    ultimately     refused   to   falsely   implicate

Montanez and did not testify at his trial, and Vicente has since recanted his

contention that Montanez, Serrano, and Pacheco confessed to him.




                                           28
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 29 of 70 PageID #:7063




              Yet Another Man Supposedly Confesses to Vicente

      203.   After coercing Vicente to frame Bouto, Montanez, Serrano, and

Pacheco, Defendants returned to the Vicente well one final time and coerced him to

“solve” a third unrelated murder, this time the horrific June 1993 murder of Monica

Roman.

      204.   At Defendants’ behest, a few weeks after falsely accusing Plaintiff,

Vicente falsely implicated a man named Geraldo Iglesias as Roman’s killer.

      205.   Guevara and Halvorsen returned to their old stand-by and had Vicente

claim that, once again, the villain had just happened to confess to him, this time

while Vicente and Iglesias were in a bullpen together, awaiting court.

      206.   Guevara and Halvorsen again fed Vicente the details of the crime for

the “confession” to make it convincing.

      207.   Guevara and Halvorsen did not document that Vicente supposedly

received a confession from Iglesias.

      208.   Had Vicente actually reported to Guevara and Halvorsen that Iglesias

had confessed, Guevara and Halvorsen would have documented that fact in a

supplementary police report.

      209.   Defendants knew that that “confession” was a complete fabrication, so

they did not document Vicente’s implication of Iglesias in a police report.

      210.   Defendant Guevara also paid Vicente money and arranged to get him

special privileges while he was incarcerated. While in jail, Vicente received perks

like cigarettes, a radio, home-cooked meals, conjugal visits, and other things not



                                          29
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 30 of 70 PageID #:7064




generally available to inmates, to ensure his continued cooperation in the

prosecutions of Mr. Bouto and the other men he had implicated.

      211.   In exchange for his testimony on all three murder cases, Defendant

Guevara promised Vicente that his four pending felony charges, for which he was

facing up to 100 years in prison, would “work out fine.”

      212.   Vicente was placed in the State’s Attorney’s witness quarters where he

spent the next three years, receiving a wide array of benefits in exchange for his

cooperation in the three separate murder prosecutions.

      213.   Vicente received a deal that gave him less than the minimum sentence

for his crimes: he received 344 days of pre-trial custody credit to which he was not

entitled, in effect knocking two years off the time he would have to serve in the

penitentiary.

      214.   This benefit was never disclosed to Plaintiff’s defense.

                         The Vicente Scheme Unravels

      215.   All told, in a matter of weeks, Vicente claimed that five different men

confessed to three murders – all reported by him after he was facing up to 100 years

in prison on pending charges, and two of the “confessions” conveniently coming from

strangers who supposedly confessed to Vicente after he was incarcerated on his own

charges.

      216.   In each case, Guevara, Mingey, and Halvorsen knew that Vicente’s

story was fabricated and that none of the men he accused had really confessed

murder to him.



                                          30
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 31 of 70 PageID #:7065




      217.   The City has since determined that all three purported confessions to

Vicente were fabricated.

      218.   Vicente has since recanted, explaining that the confession evidence he

provided in all three cases had been fabricated and alleging that he had been

coerced by Guevara and Halvorsen.

      219.   Rankins has likewise recanted his inculpation of Montanez, Serrano,

and Pacheco, and also alleged coercion by personnel including Guevara and

Halvorsen.

      220.   Maldonado, too, has recanted the evidence that he provided against

Bouto, alleging that Vicente and the Defendants had coerced him to provide it.

                                  Plaintiff’s Trial

      221.   At Plaintiff’s criminal trial, the prosecution did not present any

inculpatory evidence other than the evidence fabricated by Defendants.

      222.   Rey Lozada and Carl Richmond presented their tainted identifications

of Mr. Bouto as the shooter.

      223.   Margaret and Michael Fleming presented their tainted identifications

of Mr. Bouto as the shooter based on his clothing.

      224.   Mr. Bouto was convicted and sentenced to forty-five years of

imprisonment.

      225.   Even after he was convicted, Mr. Bouto testified at his sentencing: “I

truly am innocent.”




                                         31
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 32 of 70 PageID #:7066




      226.   Without the Defendants’ misconduct, Plaintiff would never have been

charged with, prosecuted for, or convicted of Ruvalcaba’s murder.

                              Plaintiff’s Exoneration

      227.   The allegations of Defendant Guevara’s abuses became so ubiquitous

that the City of Chicago commissioned Sidley Austin to conduct an independent

investigation into this case and others, to evaluate the credibility of the allegations.

      228.   After a thorough examination of witnesses and evidence, on March 3,

2015, the investigation yielded a detailed, 44-page report, known as “the Lassar

Report,” so-named after its chief architect, former Assistant United States Attorney

Scott Lassar.

      229.   The Lassar Report concluded that Mr. Bouto had been wrongfully

convicted, stating: “[W]e find it more likely than not that Bouto is innocent of the

murder of Salvador Ruvalcaba.”

      230.   Lassar’s statement that “we find it more likely than not that Bouto is

innocent of the murder of Salvador Ruvalcaba” was made as an agent of the City of

Chicago on a topic within the scope of his agency, made during the agency

relationship with the City of Chicago.

      231.   Sidley Austin also concluded that Jose Montanez, Armando Serrano,

Robert Almodovar, Gabriel Solache, and Arturo Reyes—all men convicted of murder

based on investigations conducted by Guevara—were wrongfully convicted.

      232.   Plaintiff never stopped fighting to prove his innocence.




                                           32
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 33 of 70 PageID #:7067




       233.   On April 30, 2018, the Cook County Circuit Court vacated the 1996

judgment in his trial for Ruvalcaba’s murder.

       234.   On June 25, 2018, the charges against him were dismissed.

       235.   Mr. Bouto received a Certificate of Innocence on March 27, 2019.

         Defendant Guevara’s History of Framing Innocent Persons

       236.   Defendant Guevara has framed literally dozens of other innocent men

over the span of two decades—men who have all lodged independent accusations of

similar misconduct against him.

       237.   Defendant Guevara is now refusing to testify about any of his activities

as a Chicago police officer on grounds that truthful testimony would subject him to

criminal liability.

       238.   Defendant Guevara has a long history of engaging in precisely the kind

of investigative misconduct that occurred in this case, including abusive tactics,

manipulation of witnesses, fabrication of evidence, and concealment of evidence in

the course of maliciously prosecuting innocent persons. There are dozens of

identified cases in which Guevara has engaged in serious investigative misconduct,

including many cases in which he has manipulated and coerced witnesses and

fabricated and concealed evidence, as he did in this case.

       239.   Given this extensive history, it is apparent that Guevara engaged in

such misconduct because he had no reason to fear that the City of Chicago and its

Police Department would ever discipline him for doing so.




                                          33
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 34 of 70 PageID #:7068




         240.   Regarding his role in framing Plaintiff, Defendant Guevara has

asserted his Fifth Amendment right to silence when questioned about: whether he

framed Plaintiff; whether he coerced or manipulated eyewitnesses to the shooting to

falsely identify Mr. Bouto; whether he coerced or manipulated Vicente and/or

Maldonado to falsely implicate Plaintiff; and whether he fed facts to Vicente and/or

Maldonado to enable their false implication of Mr. Bouto.

         241.   Repeatedly, Defendant Guevara has also invoked his Fifth Amendment

right not to answer any questions about allegations that he manipulated dozens of

witnesses to provide false identifications because truthful responses could subject

him to criminal liability, including every single instance of misconduct detailed

below.

         242.   Plaintiff provides examples of Defendant Guevara’s misconduct below

in paragraphs 237 to 343.

         243.   Bill Dorsch is a former Chicago police detective.

         244.   While serving with the Chicago police department, Dorsch was

assigned to investigate a murder.         Several months after the murder occurred,

Defendant Guevara brought two juveniles to the police station who purported to

have witnessed a shooting and recorded the license plate of the shooter. Based on

the information provided, Detective Dorsch created a photo array for the juveniles

to attempt to identify the shooter. While the first juvenile was viewing the photo

array, and before he identified any of the photographs, Defendant Guevara pointed

to the suspect’s photo and told the juvenile “that’s him.” The juvenile then agreed



                                            34
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 35 of 70 PageID #:7069




with Guevara, saying that was the person who committed the shooting. Dorsch then

directed Defendant Guevara to leave the room and had the other juvenile view the

same photo array, and he was unable to make any identification. Based on the first

juvenile’s identification, the suspect was charged with murder.          Subsequently,

Dorsch spoke to the two juveniles without Defendant Guevara being present. The

juveniles admitted that they had been paid to falsely claim that the suspect was the

person responsible for the shooting. After prosecutors spoke to the two juveniles,

the suspect was released.

      245.      Defendant Guevara’s activities have drawn the interest of federal law

enforcement officers.

      246.      In 2001, the FBI authored a special report detailing the criminal

activity of Chicago Police Officer Joseph Miedzianowski and his associates,

including Defendant Guevara.

      247.      The report details that Defendant Guevara, while acting in his

capacity as a police officer, would apprehend drug and gun dealers and then allow

them to “buy their way out of trouble.”

      248.      According to the report, Guevara also took bribes to alter both positive

and negative line-ups of murder suspects.

      249.      Finally, the report states that Guevara, using an attorney as a conduit,

would receive cash in exchange for the ultimate dismissal of murder cases he

investigated.




                                            35
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 36 of 70 PageID #:7070




      250.   In 1989, Defendant Guevara coerced Samuel Perez into falsely

identifying Juan Johnson as the person who killed Ricardo Fernandez.

      251.   Defendant Guevara put Perez inside his car, showed Perez a photo of

Juan Johnson, and told Perez that he wanted Juan Johnson to take the blame for the

murder. Unsurprisingly, Perez subsequently falsely identified Johnson as a

murderer.

      252.   In 1989, Defendant Guevara also coerced Salvador Ortiz into making a

false identification of Juan Johnson, which he later recanted. Juan Johnson was

later exonerated and brought suit against Defendant Guevara.

      253.   A federal jury found that Guevara framed Johnson for murder and

awarded Johnson $21 million in damages.

      254.   In 1989, Defendant Guevara coerced Virgilio Muniz into making a false

identification by repeatedly threatening Muniz that if he did not identify Manuel

Rivera as the murderer, Muniz would “go down for the murder.”

      255.   In 1989, Defendant Guevara coerced Virgilio Calderon Muniz

(unrelated to Virgilio Muniz, described in the above paragraph) into making a false

identification by telling him who to identify and making a veiled threat as to what

would happen if he did not.

      256.   In 1991, Defendant Guevara coerced Wilfredo Rosario into making a

false identification and giving false testimony before the Grand Jury by threatening

Rosario that if he did not identify Xavier Arcos as the murderer, Rosario would be

“pinned” for the murder.



                                        36
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 37 of 70 PageID #:7071




      257.   Guevara fed Rosario details of the crime, such as the number of shots

fired, the type of vehicle used in the crime, and the participants in the crime.

Rosario recanted his identification of Arcos at trial.

      258.   Though Arcos was still found guilty of murder by a jury, the appellate

court overturned the conviction based on the lack of sufficient evidence.

      259.   In 1991, Defendant Guevara physically coerced sixteen-year-old David

Velazquez into making a false identification and giving false testimony by taking

him to a rival gang’s territory, beating him while chained to a wall at Area 5, and

threatening to “get you for anything I can” if he did not talk.

      260.   All of the false details of Velazquez’s statement were provided by

Guevara.

      261.   In 1991, Defendant Guevara told Efrain and Julio Sanchez to pick

David Colon out of a line-up.

      262.   As a result, Efrain and Julio Sanchez falsely claimed that Colon had

committed murder, but later came forward to bring Defendant Guevara’s

misconduct to light.

      263.   In 1995, Defendant Guevara arrested Edwin Davila and, in an attempt

to coerce a confession, chained him to the wall of an interrogation room and told him

that he was going to frame him for murder.

      264.   After Davila told Guevara that he did not do it, Guevara forced Davila to

participate in a line-up in which two witnesses identified Davila as the perpetrator,




                                           37
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 38 of 70 PageID #:7072




despite the fact that each of those witnesses had previously told the police that they

had not been able to see the shooter.

       265.    In 1995, Defendant Guevara coerced Evelyn Diaz into making a false

identification and providing false testimony to the Grand Jury by threatening Diaz

that if she did not identify Luis Serrano as the shooter, her children would be taken

away by the Department of Children and Family Services.

       266.    In 1995, Defendant Guevara told Luis Figueroa to falsely identify Angel

Diaz as the perpetrator even though Figueroa did not see anything.

       267.    Figueroa identified Diaz but recanted his identification at trial.

       268.    In 1995, Defendant Guevara coerced Gloria Ortiz Bordoy into making a

false statement and testifying falsely against Santos Flores at trial.

       269.    During Ortiz Bordoy’s six-to-eight hour interrogation, Guevara yelled

in her face, threatened that her children would be taken by the Department of

Children and Family Services, called her “the B word,” and “raised his hand” saying

that he “felt like smacking” her. Finally, without reading its contents, Ortiz Bordoy

signed a statement that the detectives wrote out for her because she just wanted to

“get out of there.”

       270.    In 1995, Defendant Guevara coerced Rodolfo Zaragoza, who was a

victim and an eyewitness to a crime, into making a false identification and providing

false testimony.

       271.    Zaragosa was intimidated by Guevara and identified Ricardo Rodriguez

as the offender because Guevara told him that Rodriguez was the shooter.



                                            38
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 39 of 70 PageID #:7073




         272.   In 1995, Defendant Guevara engaged in misconduct when he told Jose

Melendez to falsely identify Thomas Sierra as the shooter even though Melendez did

not see the shooter. Melendez identified Sierra, but recanted his identification at

trial.

         273.   In 1996, Defendant Guevara coerced Maria Rivera into making a false

identification of a man in a line-up by unzipping his pants and propositioning her.

Rivera later told the prosecutor that she had falsely identified an individual in a

line-up at Guevara’s direction.

         274.   The prosecution later abandoned murder charges against the

individual whom Rivera falsely identified in the line-up.

         275.   In 1997, Defendant Guevara coerced Robert Ruiz into making a false

identification.

         276.   Guevara detained Ruiz repeatedly over the course of a ten-day period,

locking him in an interrogation room without food, water, or a bathroom. Though

Ruiz kept telling Guevara that he had not seen the shooter or the driver involved in

the crime, Guevara told Ruiz whom to identify and what to say in his statement.

Ruiz finally implicated Freddy and Concepcion Santiago in the murder because Ruiz

believed that Guevara would continue to harass him until he changed his story.

         277.   Ruiz recanted his identification at trial, and the judge found Freddy

and Concepcion Santiago not guilty.

         278.   The trial judge found it disturbing that Guevara was the lead detective

in the case because the victim was Guevara’s nephew.



                                           39
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 40 of 70 PageID #:7074




       279.   In 1997, Defendant Guevara withheld physical evidence and failed to

disclose to criminal defendant Ariel Gomez the exculpatory statements of witness

Ruth Antonetty.

       280.   Gomez was accused of firing multiple shots from a car into a crowd.

Ruth Antonetty told Guevara that she heard multiple shots coming from within the

crowd, not from Gomez’s vehicle. Guevara continued to pressure her to change her

account, and when she would not, he told her he “had other witnesses” and “didn’t

need her.”

       281.   As a result, Ariel Gomez did not have access to key Brady material at

his trial.

       282.   In 1988, Defendant Guevara used suggestive tactics to force twelve-

year-old Orlando Lopez to falsely identify Jacques Rivera as the person who shot

Felix Valentin.

       283.   As a result, Rivera was convicted of murder.

       284.   In 2011, Lopez testified at an evidentiary hearing that he had never

been able to identify Rivera as the murderer.

       285.   As a result, Rivera received a new trial.

       286.   Ultimately, the State’s Attorney dropped all charges against Rivera,

who was granted a certificate of innocence.

       287.   Also during the Felix Valentin shooting investigation, Defendant

Guevara falsely claimed that the victim of that shooting identified Jacques Rivera

as his shooter before he died.



                                          40
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 41 of 70 PageID #:7075




      288.   At the time Defendant Guevara claimed that the victim’s identification

had been made, the victim was in a medically-induced coma and unresponsive to

stimuli.

      289.   In November 2001, Defendant Guevara’s girlfriend, Judith Martinez,

attended a trial in which Guevara was testifying and observed the testimony of trial

witnesses.

      290.   Judith Martinez then conferred with Guevara, even though the Court

had ordered all witnesses excluded from the courtroom to prevent collusion among

the witnesses.

      291.   In 2011, the First District granted Tony Gonzalez a post-conviction

hearing on the basis that Defendant Guevara conducted an unduly suggestive line-

up wherein he concocted an array in which Gonzalez’s photo was the only one that

stood out from the rest in a photo array.

      292.   In 1982, Defendant Guevara and another officer arrested and

physically assaulted Annie Turner for smoking on a bus.

      293.   Guevara called Turner a “bitch” and pushed her out the back door of

the bus. He twisted her arm, threatened to “snap” it, and handcuffed her so tightly

that her skin broke. He also hit her across the face with a metal bracelet he was

wearing and called her a “nigger bitch.”

      294.   Turner sought medical treatment and filed a complaint with the Office

of Professional Standards.




                                            41
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 42 of 70 PageID #:7076




      295.   In 1982, Defendant Guevara and three other officers broke through

Almarie Lloyd’s locked front door and conducted a warrantless search of her home.

      296.   When Lloyd asked who they were, she was told to shut up. The officers

terrified Lloyd, her brother, and two children, and left the home in shambles.

      297.   Lloyd filed a complaint with the Office of Professional Standards the

next day.

      298.   In 1983, Defendant Guevara and other officers forcibly removed Leshurn

Hunt from his home and handcuffed him to a ring in the wall at the police station

where he was beaten about the head, face, and body until he confessed to murder

and robbery charges. Hunt was detained for approximately 23 hours and deprived

of food, water, and sleep until after he confessed.

      299.   Hunt sought medical treatment for his injuries and filed a complaint

with the Office of Professional Standards.

      300.   Witnesses who saw Hunt while in custody corroborated his claim of a

beating by the police.

      301.   The criminal court judge suppressed Hunt’s confession.

      302.   A jury returned a favorable verdict in a related civil rights action on

Hunt’s claim of excessive detention against the City of Chicago.

      303.   In 1984, Defendant Guevara and other officers physically assaulted

Graciela Flores and her 13-year old sister Anna during a search of their home,

during which the officers did not identify themselves as police.




                                           42
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 43 of 70 PageID #:7077




      304.     Guevara repeatedly slapped Graciela, called her a “bitch” and pulled

her hair.

      305.     As a result of this incident, Graciela’s arm was put in a sling and she

spent one week in the hospital.

      306.     In 1985, Defendant Guevara attempted to coerce a false statement from

Reynaldo Munoz.

      307.     Guevara handcuffed Munoz and put him in the back of a squad car.

When Munoz denied knowing the people Guevara was asking about, Guevara

repeatedly hit him in the mouth with his fist. Guevara then took Munoz to rival gang

territory where he allowed rival gang members to spit on Munoz and beat Munoz

about the head.

      308.     In 1986, Defendant Guevara threw Rafael Garcia against a car, struck

him in the face several times, kicked him and hit him in the head.

      309.     Garcia filed a complaint with the Chicago Police Department’s Office of

Professional Standards (OPS).

      310.     Although Guevara denied the charges, Garcia’s complaints were

corroborated by physical evidence, as he was treated at the hospital for lacerations

to the head.

      311.     After an investigation into the incident, OPS found that Guevara had

lied about the incident and recommended that Guevara be suspended for two days.




                                          43
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 44 of 70 PageID #:7078




      312.   In 1986, Defendant Guevara and two other officers coerced a confession

from Daniel Pena by beating him about the face and ribs with their hands and about

the groin and thighs with flashlights during an interrogation.

      313.   Pena was taken to see a doctor where he complained about being

beaten by the police.

      314.   The doctor found bruising to Pena’s legs and abrasions and lacerations

to Pena’s nose.

      315.   Family members corroborated Pena’s claim that he had been beaten

while in police custody.

      316.   In 1986, Defendant Guevara pulled over Melvin Warren because

Warren cut him off while driving westbound on Augusta Boulevard.

      317.   Guevara called Warren a “nigger dog” and “threatened to tear

[Warren’s] head off.” Guevara hit Warren in the face with a closed fist and then

forced him down into the front seat of his car and began to choke him.

      318.   Two eyewitnesses confirmed that Guevara initiated the beating of

Warren.

      319.   In response to this incident, Warren sought medical treatment and

filed a complaint with the Office of Professional Standards (OPS).

      320.   OPS sustained Warren’s allegations that Guevara had physically and

verbally assaulted him and recommended that Guevara be reprimanded.




                                         44
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 45 of 70 PageID #:7079




      321.   In 1989, Defendant Guevara coerced a false confession from Victor Vera

by transporting him to rival gang territory and threatening to release him unless he

confessed to the murder of Edwin Castaneda.

      322.   Fearing for his life, Vera agreed to falsely confess to a crime he knew

nothing about.

      323.   In 1991, Defendant Guevara coerced David Rivera into signing a

confession for murder by intimidation, threats, and inducements.

      324.   Guevara told Rivera that if he confessed he would serve seven years in

prison whereas if he did not confess, he would be sent away for fifty years. Guevara

then promised Rivera that if he signed a statement, he could go home.

      325.   In 1991, Defendant Guevara coerced a false confession from Daniel

Rodriguez through the use of threats and intimidation.

      326.   While en route to the police station, Guevara threatened to harm

Rodriguez’s family if he did not cooperate. Once at Area 5, Rodriguez was chained to

a wall, denied food, water, and use of a restroom, and beaten by Guevara’s partner,

Mr. Halvorsen in the chest and torso. Guevara provided details of the crime to

Rodriguez to include in Rodriguez’s false confession.

      327.   In 1992, Defendant Guevara engaged in misconduct when he

interrogated Jacqueline Montanez (no relation to Plaintiff) without a youth officer

present.

      328.   The appellate court reversed and remanded Ms. Montanez’s conviction

for murder, noting that “not only was defendant interrogated before having an



                                         45
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 46 of 70 PageID #:7080




opportunity to confer with a concerned adult, but, worse, any opportunity to do so

was effectively frustrated by police.”

      329.   In 1993, Defendant Guevara arrested fifteen-year-old Eliezar Cruzado

and threatened him with life imprisonment if he did not make a statement

implicating himself in a murder. Guevara also told Cruzado that he could go home

and see his family again, but only if he agreed to make a statement. At the time,

Cruzado had a limited ability to read and write.

      330.   In 1993, Defendant Guevara used physical force and threats to coerce a

false confession from Adolfo Frias-Munoz.

      331.   Over the course of a two-day interrogation, Frias-Munoz was

handcuffed to a ring on the wall of the interrogation room, hit in the face with an

open hand by Defendant Guevara, and beaten by two other officers. Though isolated

in a locked interrogation room, Frias-Munoz could hear his wife screaming and his

son crying in another room. Guevara threatened Frias-Munoz that if he did not

confess, his wife would go to prison and his children would be taken away. Frias-

Munoz, who did not speak English, agreed to give a statement to an assistant state’s

attorney. Frias-Munoz spoke in Spanish and Guevara translated the statement so

that the prosecutor could write the statement in English. Frias-Munoz then signed a

statement he could not read.

      332.   In 1994, Defendant Guevara, after 14 hours of interrogation, coerced a

confession from Adrian Duta by hitting him in the face with an open palm,




                                         46
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 47 of 70 PageID #:7081




punching him in the stomach, and telling him he could go home if he signed a

statement.

      333.    When Duta’s father came to see Duta at the station house, Duta was

exhausted and crying and repeatedly said that he did not know what he had signed

and had only signed the document so he could go home.

      334.    Duta complained to his father of being struck in the head and stomach

by Guevara.

      335.    In 1995, Defendant Guevara and Mr. Halvorsen coerced a confession

from 17-year-old Santos Flores after handcuffing him to the wall of a locked

interview room and refusing his requests for an attorney.

      336.    During the course of the 11-hour interrogation, Guevara yelled at

Flores, slapped him numerous times on the side of his head, and told him that if he

did not confess he would never see the light of day.        Flores eventually gave a

statement to the police indicating his involvement in the crime.

      337.    Flores’s statement was ruled inadmissible on appeal on the grounds

that it was elicited in violation of Miranda.

      338.    In 1997, Defendant Guevara coerced a false confession from Voytek

Dembski.

      339.    Guevara beat Dembski while he was chained to a wall in a locked

interrogation room. Dembski, a Polish National who did not speak English, was

interrogated by Guevara without Miranda warnings, without notification to the

Polish consulate, and without a Polish language interpreter.



                                           47
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 48 of 70 PageID #:7082




      340.   Dembski could not read the statement he eventually signed as it was

written in English.

      341.   In 1998, Defendant Guevara repeatedly hit Rosauro Mejia in an

attempt to coerce a confession from him.

      342.   Mejia never confessed and was finally released after being held in

custody for three days.

      343.   In 1998, Defendant Guevara repeatedly pulled Adriana Mejia’s hair

and struck her once on the back of her neck while she was interrogated.

      344.   In 1998, Defendant Guevara repeatedly threatened and beat Arturo

Reyes in an attempt to unconstitutionally coerce Reyes into giving an incriminating

statement.

      345.   After two days of isolation and interrogation, Reyes provided a false

statement.

      346.   In 1998, Defendant Guevara repeatedly struck Gabriel Solache on the

left side of his head and in the stomach while Solache was chained to the wall of a

locked interrogation room.

      347.   After 40 hours of interrogation, Solache gave a false statement so the

beating would stop.

      348.   Solache sustained permanent hearing loss to his left ear and sought

medical treatment.

      349.   To this day, the City of Chicago does not acknowledge that Guevara

engaged in misconduct.



                                           48
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 49 of 70 PageID #:7083




      350.    To this day, the City of Chicago does not acknowledge that Guevara

framed innocent people for crimes they did not commit.

      351.    To this day, the City of Chicago does not acknowledge that Guevara

fabricated statements and identifications using physical force and other improper

forms of coercion.

      352.    To this day, the City of Chicago works to cover up Guevara’s

misconduct.

               The City of Chicago’s Policy and Practice of
         Prosecuting Innocent Persons in Violation of Due Process

      353.    The    Chicago   Police   Department   is   responsible   for   scores   of

miscarriages of justice. Since 1986, no fewer than 70 documented cases have come

to light in which Chicago Police Detectives amassed “evidence” against an innocent

person for a serious crime. There are undoubtedly many more such cases that have

not yet been discovered.

      354.    The false charges against innocent people include numerous cases in

which Chicago Police Officers used the very same tactics that Defendants employed

against Plaintiff in this case, including: (1) procuring false statements from

detainees and “jailhouse snitches;” (2) concealment of exculpatory evidence; (3)

manipulating witnesses to obtain false identifications; (4) manipulating witnesses

to influence their testimony; and (5) using other tactics to secure the arrest,

prosecution and conviction of persons without regard to their actual guilt or

innocence.




                                          49
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 50 of 70 PageID #:7084




      355.   At all times relevant hereto, members of the Chicago Police

Department, including the Defendants in this action, routinely manufactured

evidence against innocent persons by coercing, manipulating, threatening,

pressuring, and offering inducements to detainees to make false witness statements

implicating innocent persons, knowing full well that those statements were false. As

a matter of widespread custom and practice, members of the Chicago Police

Department, including the Defendants in this action, contrived false witness

narratives that were fed to vulnerable “jailhouse snitches” who then adopted those

false witness narratives as their own for the purpose of wrongly obtaining charges

and convictions of innocent persons. Furthermore, Chicago Police Department

officers systematically suppressed exculpatory and/or impeaching material by

concealing evidence that a jailhouse witness was coerced, manipulated, threatened,

pressured or offered inducements to make false statements.

      356.   Consistent with the municipal policy and practice described in the

preceding paragraph, employees of the City of Chicago, including the named

Defendants, procured false testimony from detainee witnesses knowing full well

that their testimony was false and would lead to the wrongful charging of Plaintiff.

The tactics and inducements used to gain cooperation from these jailhouse

witnesses were concealed from Plaintiff.

      357.   At all times relevant hereto, members of the Chicago Police

Department, including the Defendants in this action, systematically suppressed

exculpatory and/or impeaching material by intentionally secreting discoverable



                                           50
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 51 of 70 PageID #:7085




reports, memos and other information in files that were maintained solely at the

police department and were not disclosed to the participants of the criminal justice

system. As a matter of widespread custom and practice, these clandestine files were

withheld from the State’s Attorney’s Office and from criminal defendants, and they

were routinely destroyed at the close of the investigation, rather than being

maintained as part of the official file.

      358.   Consistent with the municipal policy and practice described in the

preceding paragraph, employees of the City of Chicago, including the named

Defendants, concealed exculpatory evidence from Plaintiff.

      359.   At all times relevant hereto, members of the Chicago Police

Department, including the Defendants in this action, routinely manipulated,

tricked, lied to, and misled witnesses for the purpose of influencing their testimony

to conform to a false narrative contrived by the officers themselves. As a matter of

widespread practice and custom, these tactics were also used to induce false

identifications of suspects.

      360.   Consistent with the municipal policy and practice described in the

preceding paragraph, employees of the City of Chicago, including the named

Defendants, manipulated, tricked, and improperly influenced the testimony of the

eyewitnesses that implicated Mr. Bouto.

      361.   The City of Chicago and the Chicago Police Department routinely

failed to investigate cases in which Chicago Police Detectives recommended




                                           51
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 52 of 70 PageID #:7086




charging an innocent person with a serious crime, and no Chicago Police Officer has

ever been disciplined as a result of his or her misconduct in any of those cases.

      362.   Prior to and during 1993, the year in which Plaintiff was falsely

charged with the Ruvalcaba murder, the City of Chicago operated a dysfunctional

disciplinary system for Chicago Police Officers accused of serious misconduct. The

City’s Office of Professional Standards almost never imposed significant discipline

against police officers accused of violating the civil and constitutional rights of

members of the public. The Chicago Police disciplinary apparatus included no

mechanism for identifying police officers who were repeatedly accused of engaging

in the same type of misconduct.

      363.   As a matter of both policy and practice, municipal policy makers and

department supervisors condoned and facilitated a code of silence with the Chicago

Police Department. In accordance with this code, officers refused to report and

otherwise lied about misconduct committed by their colleagues, including the

misconduct at issue in this case, and retaliated against members of the public who

brought, or were witness to, misconduct by Chicago Police Department officers.

      364.   As a result of the City of Chicago’s established practice of not tracking

and identifying police officers who are repeatedly accused of the same kinds of

serious misconduct, failing to investigate cases in which the police are implicated in

a wrongful charge or conviction, failing to discipline officers accused of serious

misconduct and facilitating a code of silence within the Chicago Police Department,

officers (including the Defendants here) have come to believe that they may violate



                                          52
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 53 of 70 PageID #:7087




the civil rights of members of the public and cause innocent persons to be charged

with serious crimes without fear of adverse consequences. As a result of these

policies and practices of the City of Chicago, members of the Chicago Police

Department act with impunity when they violate the constitutional and civil rights

of citizens.

       365.    Guevara and Halvorsen have a long history of engaging in the kind of

investigative misconduct that occurred in this case, including the manipulation of

witnesses, fabrication of evidence, and concealment of evidence in the course of

maliciously prosecuting innocent persons. There are dozens of known cases in which

Guevara and/or Halvorsen have engaged in serious investigative misconduct,

including many cases in which they have manipulated and coerced witnesses and

fabricated and concealed evidence, as they did in this case. They engaged in such

misconduct because they had no reason to fear that the City of Chicago and its

Police Department would ever discipline them for doing so.

       366.    The City of Chicago and its Police Department failed in 1993 and in

the years prior to provide adequate training to Chicago Police Detectives and other

officers in any of the following areas, among others:

       a.      The constitutional requirement to disclose exculpatory evidence,

               including how to identify such evidence and what steps to take when

               exculpatory evidence has been identified in order to ensure that the

               evidence is made part of the criminal proceeding.




                                          53
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 54 of 70 PageID #:7088




       b.     The need to refrain from manipulation or potentially coercive conduct

              in relation to witnesses.

       c.     The risks associated with relying on testimony from “jailhouse

              snitches.”

       d.     The risks of wrongful conviction and the steps police officers should

              take to minimize risks.

       e.     The risks of engaging in tunnel vision during investigation.

       f.     The need for full disclosure, candor, and openness on the part of all

              officers who participate in the police disciplinary process, both as

              witnesses and as accused officers, and the need to report misconduct

              committed by fellow officers.

       367.   The need for police officers to be trained in these areas was and

remains obvious. The City’s failure to train Chicago Police Officers as alleged in the

preceding paragraph proximately caused Plaintiff’s wrongful conviction and his

injuries.

       368.   The City’s failure to train, supervise, and discipline its officers,

including repeat offenders such as Guevara and Halvorsen, effectively condones,

ratifies, and sanctions the kind of misconduct that the Police Officer Defendants

committed against Plaintiff in this case. Constitutional violations such as those that

occurred in this case are encouraged and facilitated as a result of the City’s

practices and de facto polices, as alleged above.




                                          54
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 55 of 70 PageID #:7089




      369.   The City of Chicago and officials within the Chicago Police Department

failed to act to remedy the patterns of abuse described in the preceding paragraphs,

despite actual knowledge of the pattern of misconduct. They thereby perpetuated

the unlawful practices and ensured that no action would be taken (independent of

the judicial process) to remedy Plaintiff’s ongoing injuries.

      370.   The policies and practices described in the foregoing paragraphs were

consciously approved by the City of Chicago policymakers who were deliberately

indifferent to the violations of constitutional rights described herein.

                          Plaintiff’s Devastating Injuries

      371.   During his twenty-three years of wrongful imprisonment, Plaintiff was

deprived of the ability to interact freely with his loved ones; to be present for

holidays, births, deaths and other life events; to pursue his passions and interests;

to engage in meaningful labor and develop a career; and to live freely, as an

autonomous being.

      372.   Instead, Plaintiff was detained in harsh, dangerous, and isolating

conditions in maximum security prisons. He was branded a murderer.

      373.    As a result of his wrongful conviction and incarceration, Plaintiff

must now attempt to rebuild his life outside of prison, all without the benefit of the

life experiences that ordinarily equip adults for such a task.

      374.   In addition to causing the severe trauma of Plaintiff’s wrongful

imprisonment and loss of liberty, Defendants’ misconduct caused and continues to

cause Plaintiff extreme physical and psychological pain and suffering, humiliation,



                                           55
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 56 of 70 PageID #:7090




constant fear, anxiety, deep depression, despair, rage, and other physical and

psychological effects.

                              COUNT I – 42 U.S.C. § 1983
                         Due Process: Fabrication of Evidence

      375.   Plaintiff incorporates each paragraph of this Complaint as if fully

restated here.

      376.   As described more fully above, Defendants, while acting individually,

jointly, and in conspiracy with one another, as well as under color of law and within

the scope of their employment, deprived Plaintiff of his constitutional right to a fair

trial by fabricating Vicente’s and Rankins’ testimonial inculpation of Plaintiff, as

well as other evidence.

      377.   In the manner described more fully above, Defendants fabricated,

coerced, manipulated and/or solicited false statements and testimony from

individuals including Lozaro, Richmond, Michael and Margaret Fleming, Vicente,

and Maldonado implicating Plaintiff in the crime that they knew he did not commit;

falsified police reports; used suggestive identification procedures to falsify evidence;

obtained the charging and conviction of Plaintiff using that false evidence; and

failed to correct fabricated evidence that they knew to be false when it was used

against Plaintiff at his criminal trial.

      378.   Defendants’ misconduct resulted directly in the unjust criminal

conviction of Plaintiff, thereby denying his constitutional right to a fair trial

guaranteed by the Fourteenth Amendment. Absent this misconduct, Plaintiff’s

prosecution could not and would not have been pursued.

                                           56
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 57 of 70 PageID #:7091




       379.   The misconduct described in this Count was objectively unreasonable

and was undertaken intentionally, with malice, with reckless indifference to the

rights of others, and in total disregard of the truth and Plaintiff’s clear innocence.

       380.   As a result of Defendants’ misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, emotional

pain and suffering, and other grievous and continuing injuries and damages.

       381.   The misconduct described in this Count by the Defendant Officers was

undertaken pursuant to the policy and practice of the Chicago Police Department,

in the manner more fully described below, in Count VII.

                           COUNT II – 42 U.S.C. § 1983
                          Due Process: Brady Violations

       382.   Plaintiff incorporates each paragraph of this Complaint as if fully

restated here.

       383.   As described in detail above, the Defendant Officers, while acting

individually, jointly, and in conspiracy with one another, as well as under color of

law and within the scope of their employment, deprived Plaintiff of his

constitutional right to a fair trial by withholding and suppressing exculpatory

evidence. In the manner described more fully above, the Defendant Officers

deliberately withheld exculpatory evidence from Plaintiff and from the prosecution,

among others, thereby misleading and misdirecting the criminal prosecution of

Plaintiff.

       384.   In addition, in the manner described more fully above, the Defendant

Officers knowingly fabricated and solicited false evidence implicating Plaintiff in

                                           57
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 58 of 70 PageID #:7092




the crime; obtained Plaintiff’s charging and conviction using that false evidence;

and failed to correct fabricated evidence that they knew to be false when it was used

against Plaintiff at his criminal trial.

      385.   The Defendant Officers’ misconduct resulted directly in the unjust

criminal conviction of Plaintiff, thereby denying his constitutional right to a fair

trial guaranteed by the Fourteenth Amendment. Absent this misconduct, the

prosecution of Plaintiff could not and would not have been pursued.

      386.   The misconduct described in this Count was objectively unreasonable

and was undertaken intentionally, with malice, with reckless indifference to the

rights of others, and in total disregard of the truth and Plaintiff’s clear innocence.

      387.   As a result of the Defendant Officers’ misconduct described in this

Count, Plaintiff suffered loss of liberty, great mental anguish, humiliation,

degradation, emotional pain and suffering, and other grievous and continuing

injuries and damages.

      388.   The misconduct described in this Count by was undertaken pursuant

to the policy and practice of the Chicago Police Department, in the manner more

fully described below in Count VII.

                          COUNT III – 42 U.S.C. § 1983
                      Due Process: Destruction of Evidence

      389.   Plaintiff incorporates each paragraph of this Complaint as if fully

restated here.

      390.   As described in detail above, the Defendant Officers, while acting

individually, jointly, and in conspiracy with one another, as well as under color of

                                           58
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 59 of 70 PageID #:7093




law and within the scope of their employment, deprived Plaintiff of his

constitutional right to a fair trial by deliberately, and in bad faith, causing the loss

of and/or failing to preserve evidence that Plaintiff could have used to prove his

innocence.

      391.   The exculpatory value of that evidence was apparent to the

Defendants. In the alternative, the evidence was potentially exculpatory, and the

Defendants knew that.

      392.   The Defendant Officers’ misconduct resulted directly in the unjust

criminal prosecution and conviction of Plaintiff, thereby denying his constitutional

right to a fair trial guaranteed by the Fourteenth Amendment. Absent this

misconduct, the prosecution of Plaintiff could not and would not have been pursued.

      393.   The misconduct described in this Count was objectively unreasonable

and was undertaken intentionally, in bad faith, with malice, with reckless

indifference to the rights of others, and in total disregard of the truth and Plaintiff’s

clear innocence.

      394.   As a result of the Defendant Officers’ misconduct described in this

Count, Plaintiff suffered loss of liberty, great mental anguish, humiliation,

degradation, emotional pain and suffering, and other grievous and continuing

injuries and damages.

                           COUNT IV – 42 U.S.C. § 1983
                             Deprivation of Liberty

      395.   Plaintiff incorporates each paragraph of this Complaint as if fully

restated here.

                                           59
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 60 of 70 PageID #:7094




      396.   In the      manner   described more    fully   above,   the   Defendants,

individually, jointly, and in conspiracy with one another, as well as under color of

law and within the scope of their employment, deprived Plaintiff of his

constitutional rights.

      397.   Defendants accused Plaintiff of criminal activity and exerted influence

to initiate, continue, and perpetuate judicial proceedings against Plaintiff without

any probable cause for doing so, in violation of his rights secured by the Fourth

Amendment and the procedural and substantive due process components of the

Fourteenth Amendment.

      398.   In so doing, Defendants caused Plaintiff to be unreasonably seized and

improperly subjected to judicial proceedings for which there was no probable cause.

These judicial proceedings were instituted and continued maliciously, resulting in

injury.

      399.   As a result of Defendants’ false allegations and fabricated evidence,

Plaintiff was arrested and charged and remained incarcerated from that day

continuing on through his trial and until his release on parole, after which he

remained subject to restraints on his liberty until his eventual exoneration.

      400.   As a result of the misconduct of Defendants described in this Count,

Plaintiff suffered loss of liberty, great mental anguish, humiliation, degradation,

emotional pain and suffering, and other grievous and continuing injuries and

damages.




                                         60
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 61 of 70 PageID #:7095




      401.   The misconduct described in this Count by the Defendant Officers was

undertaken pursuant to the policy and practice of the Chicago Police Department,

in the manner more fully described below in Count VII.

                          COUNT V – 42 U.S.C. § 1983
                  Conspiracy to Deprive Constitutional Rights

      402.   Plaintiff incorporates each paragraph of this complaint as if fully

restated here.

      403.   Defendants, acting in concert with other co-conspirators, known and

unknown, reached an agreement among themselves to frame Plaintiff for a crime he

did not commit and deprive him of his constitutional rights by maliciously causing

Plaintiff’s prosecution, by fabricating evidence that would be used to convict

Plaintiff; and by withholding exculpatory information from Plaintiff’s defense and

the prosecution, as described above.

      404.   In so doing, these co-conspirators conspired to accomplish an unlawful

purpose by unlawful means. In addition, these co-conspirators agreed among

themselves to protect one another from liability for depriving Plaintiff of these

rights.

      405.   In furtherance of their conspiracy, each of these co-conspirators

committed overt acts and were otherwise willful participants in joint activity.

      406.   The misconduct described in this count was objectively unreasonable

and was undertaken intentionally, with malice, with reckless indifference to the

rights of others, and in total disregard of the truth and Plaintiff’s clear innocence.




                                           61
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 62 of 70 PageID #:7096




      407.   As a result of Defendants’ misconduct described in this count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, emotional

pain and suffering, and other grievous and continuing injuries and damages.

                           COUNT VI – 42 U.S.C. § 1983
                             Failure to Intervene

      408.   Plaintiff incorporates each paragraph of this Complaint as if fully

restated here.

      409.   During the constitutional violations described herein, one or more of

the Defendants stood by without intervening to prevent the violation of Plaintiff’s

constitutional rights, even though they had the opportunity to do so.

      410.   The misconduct described in this Count was objectively unreasonable

and was undertaken intentionally, with malice, with reckless indifference to the

rights of others, and in total disregard of the truth and Plaintiff’s innocence.

      411.   As a result of the Defendants’ failure to intervene to prevent the

violation of Plaintiff’s constitutional rights, Plaintiff suffered loss of liberty, great

mental anguish, humiliation, degradation, emotional pain and suffering, and other

grievous and continuing injuries and damages.

      412.   The misconduct described in this Count by the Defendants was

undertaken pursuant to the policy and practice of the Chicago Police Department,

in the manner more fully described below in Count VII.

                           COUNT VII – 42 U.S.C. § 1983
                              Municipal Liability




                                           62
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 63 of 70 PageID #:7097




      413.   Plaintiff incorporates each paragraph of this Complaint as if fully

restated here.

      414.   As described more fully herein, the City of Chicago is itself liable for

the violation of Plaintiff’s constitutional rights. Plaintiff’s injuries were caused by

the policies, practices, and customs of the Chicago Police Department, in that

employees and agents of the Chicago Police Department, including Defendants in

particular, regularly failed to disclose exculpatory evidence to criminal defendants,

fabricated false evidence implicating criminal defendants in criminal conduct,

pursued wrongful convictions through profoundly flawed investigations, and

otherwise violated due process in a similar manner to that alleged herein.

      415.   This institutional desire to close cases through abusive tactics

regardless of actual guilt or innocence, in order to enhance police officers’ personal

standing in the Department, was known to the command personnel, who

themselves participated in the practice.

      416.   The above-described widespread practices, which were so well-settled

as to constitute the de facto policy of the Chicago Police Department, were allowed

to exist because municipal policymakers with authority over the same exhibited

deliberate indifference to the problem, thereby effectively ratifying it. Furthermore,

the above-described widespread practices were allowed to flourish because the

Chicago Police Department declined to implement sufficient training or any

legitimate mechanism for oversight or punishment of officers and agents who




                                           63
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 64 of 70 PageID #:7098




withheld material evidence, fabricated false evidence and witness testimony, and

pursued wrongful convictions.

        417.   The constitutional violations described in this Complaint were also

undertaken pursuant to the policy and practices of the Chicago Police Department

in that the constitutional violations were committed with the knowledge or approval

of persons with final policymaking authority for City of Chicago and the Chicago

Police Department.

        418.   Chicago police officers who manufactured criminal cases against

individuals such as Plaintiff had every reason to know that they not only enjoyed de

facto immunity from criminal prosecution and/or Departmental discipline, but that

they also stood to be rewarded for closing cases no matter what the costs. In this

way, this system proximately caused abuses, such as the misconduct at issue in this

case.

        419.   The policies, practices, and customs set forth above were the moving

force behind the numerous constitutional violations in this case and directly and

proximately caused Plaintiff to suffer the grievous and permanent injuries and

damages set forth above.

                         COUNT VIII – State Law Claim
                   Intentional Infliction of Emotional Distress

        420.   Plaintiff incorporates each paragraph of this Complaint as if fully

restated here.

        421.   In the manner described more fully above, Defendants engaged in

extreme and outrageous conduct.

                                         64
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 65 of 70 PageID #:7099




      422.   The Defendants either intended that their conduct would cause severe

emotional distress to Plaintiff or knew that there was a high probability that their

conduct would cause severe emotional distress to Plaintiff.

      423.   The misconduct described in this Count was undertaken with malice,

willfulness, and reckless indifference to the rights of others.

      424.   As a proximate result of this misconduct, undertaken within the scope

of Defendants’ employment, Plaintiff suffered injuries, including but not limited to

severe emotional distress.

                             Count IX – State Law Claim
                               Malicious Prosecution

      425.   Plaintiff incorporates each paragraph of this Complaint as if fully

restated here.

      426.   All of the individual Defendants caused Plaintiff to be improperly

subjected to judicial proceedings for which there was no probable cause. These

judicial proceedings were instituted and continued with malice and resulted in

injury to Plaintiff. All such proceedings were ultimately terminated in Plaintiff’s

favor in a manner indicative of innocence.

      427.   Defendants accused Plaintiff of murdering Salvadore Ruvalcaba,

knowing that he was innocent of the crime.

      428.   Defendants fabricated evidence, manipulated the eyewitnesses and

withheld material exculpatory evidence.




                                           65
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 66 of 70 PageID #:7100




       429.   Defendants knowingly made false statements to prosecutors with the

intent of exerting influence to institute and continue judicial proceedings against

Plaintiff.

       430.   The misconduct described in this Count was undertaken with malice,

willfulness, and reckless indifference to Plaintiff’s rights.

       431.   As a direct and proximate result of this misconduct, undertaken within

the scope of Defendants’ employment, Plaintiff suffered injuries, including, but not

limited to, emotional distress, as is more fully alleged above.

                             Count X – State Law Claim
                               Respondeat Superior

       432.   Plaintiff incorporates each paragraph of this Complaint as if fully

restated here.

       433.   In committing the acts alleged in the preceding paragraphs, the

Defendant Officers were members and agents of the Chicago Police Department

acting at all relevant times within the scope of their employment.

       434.   Defendant City of Chicago is liable as principal for all torts committed

by its agents.

       435.   In committing the acts alleged in the preceding paragraphs, Defendant

Hughes was a member of, and agent of, the Cook County State’s Attorney's Office,

acting at all relevant times within the scope of their employment and under color of

law.

       436.   Defendant Cook County is liable as principal for all torts committed by

its agents.

                                           66
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 67 of 70 PageID #:7101




                            COUNT XI – State Law Claim
                                Civil Conspiracy

         437.   Plaintiff repeats and re-alleges all of the paragraphs in this Complaint

as if fully set forth herein.

         438.   As described more fully in the preceding paragraphs, each of the

individual Defendants acting in concert with one another and other co-conspirators,

known and unknown, conspired to accomplish an unlawful purpose by unlawful

means.

         439.   In furtherance of the conspiracy, the Defendants each committed overt

acts and were otherwise willing participants in joint activity.

         440.   The misconduct described in this Count was undertaken with malice,

willfulness and reckless indifference to Plaintiff’s rights.

         441.   As a direct and proximate result of this misconduct, Plaintiff suffered

injuries, including, but not limited to, emotional distress, as is more fully alleged

above.

                                Count XII – State Law Claim
                                     Indemnification

         442.   Plaintiff incorporates each paragraph of this Complaint as if fully

restated here.

         443.   Illinois law provides that public entities are directed to pay any tort

judgment for compensatory damages for which employees are liable within the

scope of their employment activities.




                                            67
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 68 of 70 PageID #:7102




      444.   The Defendant Officers are or were employees of the Chicago Police

Department who acted within the scope of their employment in committing the

misconduct described above.

      445.   The City is liable to indemnify any compensatory judgment awarded

against the Defendant Officers.

      446.   Defendant Cook County was at all times material to this complaint the

employer of Defendant Hughes and is therefore responsible for any judgment

entered against Defendant Hughes and for any judgment entered against him

during said employment with the County, making the County a necessary party to

this complaint.

                          COUNT XIII - 42 U.S.C § 1983
                            Unlawful Retaliation

      447.   Plaintiff incorporates each paragraph of this Complaint as if fully

restated here.

      448.   The Defendant Officers, individually and in conspiracy, violated

Plaintiff’s First and Fourteenth Amendments rights by retaliating against Plaintiff

to chill his exercise of protected speech and silence him from speaking out about

Defendants’ misconduct.

      449.   A causal connection existed between the Defendants’ retaliatory

actions and the Plaintiff’s protected speech and acts.

      450.   Defendants’ actions against the Plaintiff would not have been taken

absent their retaliatory motive.




                                          68
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 69 of 70 PageID #:7103




      451.   Defendants’ retaliatory conduct would likely deter a person of ordinary

firmness from the exercise of First Amendment rights.

      452.   As a direct and proximate result of the Defendants’ retaliatory actions,

Plaintiff suffered damages, including extreme emotional pain and suffering.

      453.   The misconduct described in this Count by the Defendant Officers was

undertaken pursuant to the policy and practice of the Chicago Police Department,

in the manner more fully described above.

      WHEREFORE, Plaintiff Robert Bouto respectfully requests that this Court

enter judgment in his favor and against Defendants Reynaldo Guevara, JoAnn

Halvorsen as Special Representative for Ernest Halvorsen, Edward Mingey,

Kenneth Pang, Alan Pergande, Richard Maher, L. Marron, and Unknown Officers;

Kevin Hughes; City of Chicago; and Cook County, awarding compensatory damages,

punitive damages, interest, costs, and attorneys’ fees, as well as any other relief this

Court deems just and appropriate.

                                  JURY DEMAND

       Plaintiff Robert Bouto hereby demands a trial by jury pursuant to Federal

Rule of Civil Procedure 38(b) on all issues so triable.


                                         RESPECTFULLY SUBMITTED:

                                         ROBERT BOUTO

                                         By: s/ Ruth Brown
                                         Attorney for Robert Bouto

Arthur Loevy
Jon Loevy

                                           69
 Case: 1:19-cv-02441 Document #: 256 Filed: 09/21/21 Page 70 of 70 PageID #:7104




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                                       70
